             I N T H E DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:09 CR 06-2


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                       ORDER
                                       )
RACHEL DAWN SEARS.                     )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this court on May 8, 2009.

It appearing to the court at the call of this matter on for hearing that the defendant was

present with her attorney, David G. Belser and the government was present and

represented through Assistant United States Attorney Mark Jones. From the arguments

of counsel for the defendant and the arguments of the Assistant United States Attorney

and the records in this cause, the court makes the following findings:

      Findings.     On February 5, 2009, a bill of indictment was issued charging the

defendant    with    possessing     with    intent   to     distribute     a   quantity      of

methylenedioxymethamphetamine in violation of Title 21 U.S.C. § 841and title 18

U.S.C. § 2. On May 8, 2009, the undersigned held an inquiry, pursuant to Rule 11

of the Federal Rules of Criminal Procedure, and accepted a plea of guilty of the

defendant to that charge. At the end of the Rule 11 proceeding, this court presented




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the issue of whether or not the defendant should now be detained, pursuant to 18

U.S.C. § 3143(a)(2).

      Discussion.      18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

            (A)(i) the judicial officer finds there is a substantial likelihood that
      a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence that
             the person is not likely to flee or pose a danger to any other person
             or the community.

      From an examination of the records in this cause, it appears that the defendant

has now entered a plea of guilty on May 8, 2009 to possession with intent to distribute

methylenedioxymethamphetamine in violation of 21 U.S.C. § 841. That crime is one

of the crimes that is referenced under 18 U.S.C. § 3142(f)(1)(C). The undersigned

made an inquiry of Assistant United States Attorney as to whether or not there is

going to be a recommendation that no sentence of imprisonment be imposed upon the

defendant. The Assistant United States Attorney advised the court that such a

recommendation could not be made in this matter. As a result of the plea of guilty the

undersigned cannot find there is a substantial likelihood that a motion for acquittal or



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new trial will be granted and based upon the statement of the United States Attorney

it does not appear that an attorney for the government has recommended that no

sentence of imprisonment be imposed upon the defendant.                  Based upon

representations of the United States Probation Office, the court is advised that the

defendant has been compliant with all terms and conditions of her pretrial release and

the defendant has worked at two jobs during her period of release and has been

actively participating in outpatient drug treatment. Despite that fact, the undersigned

is of the opinion that the provisions of 18 U.S.C. § 3143(a)(2) are mandatory and

require the undersigned to detain the defendant.




                                      ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby REVOKED and it is ORDERED the defendant be

detained pending further proceedings in this matter.



                                           Signed: May 12, 2009




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